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1111"   t~   NADIM T. NASRALLAH, M.S., D.C., M.A.

~! I                                                                                            11500 Olive Street Road
                                                                                                               Suite 112
                                                                                                Creve Coeur, MO 63141
                                                                                               Telephone: (314) 997-7770
    09/26/2022                                                                                       Fax: (314) 997-7732




    Honorable Judge Ronnie L White
    United States District Court for the Eastern District of Missouri
    111 South Tenth Street
    St. Louis, Missouri, 63102

    Dear Judge White,

          I have known Mohammed Almuttan for more than twenty years, and have had the opportunity to
    know Mohammed on both a professional and social basis.

            I have always known Mohammed to be hardworking and scrupulously conscientious in his
    businesses. He performed some of the labor himself and employed so many minorities in his several
    stores with the help of his brother.

           Mohammed is a sincerely religious man. His faith is not showy or overdone, and did not come
    about merely because of his recent trouble with the law. He has been a devoted husband and father since I
    have known him, and his efforts in labor and work always- (he always told me nothing is free). His best
    words after getting his green card were "This is the greatest country and I'm proud to be in America" .

             One of the things I've noticed and admired about Mohammed is his interest in other people and
    the ability to make people feel comfortable and enjoy themselves and ~ive rather than receive: and he' s
    been able to maintain this ability in spite of the horrible distraction caused by this case. I didn 't realize
    how truly modest Mohammed was until recently when I was asked to be a part and tend to his care with
    two other surgeons and therapists at Barnes Hospital after he fell victim to a gunshot wound.

            This is a significant achievement to overcome for an immigrant who escaped multiple injuries
    and loss of his father during the war and hardship in Palestine, to enter into the US with his brother and
    learn the value of hard work and the meaning of the phrase "nothing is free". He has certainly had several
    opportunities to tell me about his experiences but he simply isn' t one to boast about himself.

            In closing, I am proud to consider Mohammed a friend . I would hope that you will see fit to
    exercise whatever discretion you may have in sentencing to do so favorably to him, his wife, and young
    children.


                                                                         Veryt       ours,
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    NADIM T. NASRALLAH, M.S., D.C., M.A.
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                                                            SAINT.LOUIS Mo ·                                     ://liJj
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    Creve Coeur, MO 63141




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